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                    THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA



ALASKA INDUSTRIAL                          Case No. 3:24-cv-00051-SLG
DEVELOPMENT AND EXPORT
AUTHORITY,

                          Plaintiff,


                    v.

U.S. DEPARTMENT OF THE
INTERIOR, et al.,




       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 1 of 23
                      Defendants,


               and


GWICH’IN STEERING
COMMITTEE, et al.,


           Intervenor-Defendants.



INTERVENOR-DEFENDANTS GWICH’IN STEERING COMMITTEE ET AL.’S
 RESPONSE IN OPPOSITION TO PLAINTIFF’S OPENING BRIEF ON COUNT
    II(B) AND MOTION FOR SUMMARY JUDGMENT ON COUNT II(B)
 (Fed. R. Civ. P. 56(a), Local Civ. R. 16.3, Order Re Joint Mot. Regarding Scheduling
                                  Order, ECF No. 49)




     Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 2 of 23
                                             TABLE OF CONTENTS

TABLE OF AUTHORITIES .............................................................................................. iii

LIST OF SHORT NAMES AND ACRONYMS ................................................................ v

INTRODUCTION ............................................................................................................... 1

FACTUAL BACKGROUND ............................................................................................. 2

LEGAL STANDARDS ....................................................................................................... 4

ARGUMENT....................................................................................................................... 6

CONCLUSION ................................................................................................................. 16

CERTIFICATE OF SERVICE .......................................... Error! Bookmark not defined.

CERTIFICATE OF COMPLIANCE ................................ Error! Bookmark not defined.




Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page ii

          Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 3 of 23
                                           TABLE OF AUTHORITIES

Cases

AIDEA v. Biden, 685 F. Supp. 3d 813 (D. Alaska 2023) ...................................... 12, 14, 15

Alaska v. Haaland, 143 S. Ct. 1002, 215 L. Ed. 2d 137 (2023) .......................................... 6

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ....................................................... 6

Biden v. Texas, 597 U.S. 785 (2022) ............................................................................... 5, 6

Boesche v. Udall, 373 U.S. 472 (1963). .............................................................................. 6

Celotex Corp. v. Catrett, 477 U.S. 317 (1986) .................................................................... 5

Center for Biological Diversity v. Bernhardt, 982 F.3d 723 (9th Cir. 2020) .............. 14, 15

Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971) ............................. 5

Confederacion de Asociaciones Agricolas del Estado de Sinaloa, A.C. v.
  United States, 32 F.4th 1130 (2022) .............................................................................. 13

Dallas Safari Club v. Bernhardt, 518 F. Supp. 3d 535 (D.D.C. 2021) ....................... 13, 14

Dep’t of Commerce v. New York, 588 U.S. 752 (2019). ............................................ passim

Gwich’in Steering Comm. v. Haaland, Case No. 3:20-cv-00204-SLG
 (Alaska D. Ct.) ............................................................................................................... 12

James Madison Ltd. by Hecht v. Ludwig, 82 F.3d 1085 (D.C. Cir. 1996) ...................... 5, 6

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986) ........................ 11

Nat’l Audubon Soc’y v. Haaland, Case No. 3:20-cv-00205-SLG (Alaska D. Ct.) ........... 12

Native Vill. of Venetie Tribal Gov’t v. Haaland, Case No. 3:20-cv-00223-SLG
  (Alaska D. Ct.) ............................................................................................................... 12

Nelson v. Pima Cmty. College, 83 F.3d 1075 (9th Cir. 1996) ............................................. 6

Safari Club Int’l v. Haaland, 31 F.4th 1157 (9th Cir. 2022)............................................... 6

Scott v. Harris, 550 U.S. 372 (2007) ................................................................................. 11


Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page iii

          Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 4 of 23
State of Wash. v. Haaland, Case No. 3:20-cv-00224-SLG (Alaska D. Ct.)...................... 12

Voyageur Outward Bound Sch. v. United States, 2021 U.S. WL 1929123
  (D.D.C. May 13, 2021) .................................................................................................. 13

Rules

Fed. R. Civ. P. 56(a) ............................................................................................................ 5

Fed. R. Civ. P. 56(c) ............................................................................................................ 6

Fed. R. Civ. P. 56(e) ............................................................................................................ 6




Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page iv

          Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 5 of 23
                  LIST OF SHORT NAMES AND ACRONYMS

      AIDEA                    Alaska Industrial Development and Export Authority

      APA                      Administrative Procedure Act

      Arctic Refuge            Arctic National Wildlife Refuge

      Assistant Secretary      Principal Deputy Assistant Secretary of Land and
                               Minerals Management

      Deputy Secretary         Deputy Secretary of the U.S. Department of the
                               Interior

      DOJ                      U.S. Department of Justice

      EIS                      Environmental Impact Statement

      Interior                 U.S. Department of the Interior

      Leasing Program          Coastal Plain Oil and Gas Leasing Program

      NEPA                     National Environmental Policy Act

      Secretary                Secretary of the U.S. Department of the Interior

      Secretary of Commerce    Secretary of the U.S. Department of the Commerce

      SEIS                     Supplemental Environmental Impact Statement

      Tax Act                  Tax Cuts and Jobs Act




Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page v

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 6 of 23
                                    INTRODUCTION

       After concluding that there were multiple, serious legal errors with the Coastal

Plain Oil and Gas Leasing Program (Leasing Program), the Deputy Secretary of the U.S.

Department of the Interior (Deputy Secretary) lawfully cancelled the Alaska Industrial

Development and Export Authority’s (AIDEA) leases on the Coastal Plain of the Arctic

National Wildlife Refuge (Arctic Refuge). AIDEA claims that the stated reason for lease

cancellation — the significant legal errors with the Leasing Program — was pretextual

and that the true reason was that the U.S. Department of the Interior (Interior) wants to

prohibit all oil and gas activities on the Coastal Plain. 1 AIDEA asks the Court to withhold

entering summary judgment for Defendants, and instead to allow AIDEA to engage in

extra-record discovery and potentially go to trial on that claim. 2

       AIDEA’s arguments fail. Interior relied on valid reasons to cancel AIDEA’s leases

that it detailed in its decision. 3 The Deputy Secretary’s findings regarding these legal

violations are supported by the record and consistent with the Tax Cuts and Jobs Act




       1
          See generally Pl. AIDEA’s Opening Br. on Count II(B) and Opp’n to DOI’s
Mot. for Summ. J. on Count II(B) at 2, ECF No. 66 [hereinafter “AIDEA Pretext Br.”].
        2
          AIDEA Pretext Br. at 3, 13–14. This is at odds with AIDEA’s previous position
that the Court could rule on all claims in one order and that it was in all parties’ best
interest for the Court to do so by October 25, 2024. See J. Mot. Regarding Scheduling
Order at 2, 4, ECF No. 48.
        3
          AR5358–59.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 1

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 7 of 23
(Tax Act). 4 Critically, AIDEA offers no evidence to show that Interior’s rationale that it

was addressing legal errors with the Leasing Program was a sham, which it must do to

withstand summary judgment on its pretext claim. In the absence of actual evidence of

bad faith, Interior’s reliance on valid legal reasons to cancel the leases ends the inquiry.

Accordingly, this Court should reject AIDEA’s request to suspend review of this claim

and allow for discovery, grant Defendants’ and Intervenor-Defendants’ motions for

summary judgment, and enter judgment in favor of Defendants and Intervenor-

Defendants Gwich’in Steering Committee et al. (collectively “Gwich’in Steering

Committee”) and the Arctic Village and Venetie Tribes on Count II(B).

                               FACTUAL BACKGROUND

       The Gwich’in Steering Committee recounted the background of this case in its

prior response to AIDEA’s motion for summary judgment on the majority of its claims. 5

A summary of the facts relevant to this specific claim follows.

       In September 2023, the Deputy Secretary issued a decision cancelling AIDEA’s

leases (Cancellation Decision). 6 This decision came over two years after Interior first

notified AIDEA that it had identified legal errors with the Leasing Program and was




       4
        See generally Intervenor-Defs. Gwich’in Steering Comm. et al.’s Resp. in Opp’n
to Mot. for Summ. J. and Cross Mot. for Summ. J. on Counts I, II(A), III, IV, and V, ECF
No. 53 [hereinafter “Response Br.”].
      5
        Response Br. at 12–18.
      6
        AR5353–59.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 2

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 8 of 23
considering cancelling AIDEA’s leases. 7 In his Cancellation Decision, the Deputy

Secretary expressly recognized the Secretary of the U.S. Department of the Interior’s

(Secretary) inherent authority to cancel leases that were invalidly issued and to correct

legal errors. 8 The Deputy Secretary explained that Interior “determined that the leases

were improperly issued due to pre-leasing legal defects.” 9 He specified that his decision

to cancel AIDEA’s leases was based on Interior’s findings regarding the agency’s prior

unlawful interpretation of the Tax Act’s 2,000-acre limitation on surface disturbance and

the analysis of greenhouse gas emissions. 10

       The Deputy Secretary found that the legal errors with the Leasing Program “were

sufficiently serious and fundamental to the decision-making process” to warrant

cancellation. 11 He explained that the failure to properly interpret the Tax Act was

consequential, given that the purposes of the Arctic Refuge include protecting wildlife

and ensuring continued subsistence. 12 The Deputy Secretary also noted the importance of

evaluating a reasonable range of alternatives to meet the National Environmental Policy

Act’s (NEPA) mandates. 13 He then explained that information developed while preparing

the draft supplemental environmental impact statement (SEIS) supported cancelling the


       7
         AR3362–63, AR3364–65, AR3404.
       8
         AR5355, AR5359.
       9
         AR5353; see also AR5359.
       10
          AR5356–58.
       11
          AR5358–59.
       12
          AR5357.
       13
          AR5356–57.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 3

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 9 of 23
leases at that time. 14 The Deputy Secretary identified that cancelling the leases before

finalizing the Leasing Program would allow the agency to consider what areas to offer for

lease in the second lease sale, including areas that AIDEA had leased. 15

       In its announcement of the decision, Interior directly referred to the legal review

undertaken and the identified legal errors justifying lease cancellation. 16 The legal

deficiencies identified by Interior include the same ones that Interior had previously

identified as supporting lease suspension — i.e. “insufficient analysis under [NEPA],

including failure to adequately analyze a reasonable range of alternatives and properly

quantify downstream greenhouse gas emissions; and failure to properly interpret the Tax

Act.” 17

                                  LEGAL STANDARDS

       The Gwich’in Steering Committee previously set out the applicable standard of

review under the Administrative Procedure Act (APA). 18 Relevant to this claim, the

Supreme Court in Department of Commerce v. New York explained how courts approach

claims of pretext and affirmed that agency decisions are reviewed based on the

administrative record. 19 The Court recognized that agency decisions are often driven by




       14
          AR5358.
       15
          AR5358.
       16
          AR5361.
       17
          AR5361.
       18
          Response Br. at 18–19.
       19
          588 U.S. 752, 780 (2019).

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 4

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 10 of 23
political considerations and that such considerations are not necessarily a reason to

overturn a decision: “[A] court may not reject an agency’s stated reasons for acting

simply because the agency might also have other unstated reasons.” 20 As a result, courts

reviewing agency decisions under the APA consider only the “agency’s contemporaneous

explanation in light of the existing administrative record.” 21 The Court articulated a

“narrow exception to the general rule against inquiring into ‘the mental processes of

administrative decisionmakers.’” 22 To be able to deviate from the agency’s administrative

record requires a “strong showing of bad faith or improper behavior.” 23 Further, to avoid

summary judgment on its claim, AIDEA must show that there is a genuine issue of

material fact as to whether Interior acted in bad faith. 24 AIDEA’s efforts to resist




       20
          Id. at 781.
       21
          Id. at 780.
       22
          Id. at 781 (quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.
402, 420 (1971)).
       23
          Id. (quoting Overton Park, 401 U.S. at 420); see also Biden v. Texas, 597 U.S.
785, 811–12 (2022) (explaining that review of an agency decision only goes beyond the
agency’s record when there has been a “strong showing of bad faith or improper
behavior” and rejecting argument that agency policy objective overcomes stated reasons).
Contra AIDEA Pretext Br. at 12 (arguing that a pretext claimant need not make a strong
showing of bad faith).
       24
          Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 325–28 (1986)
(explaining that if an opposing party will have the burden of proof on an issue, the
moving party need only point out “that there is an absence of evidence to support the
nonmoving party’s case”); see also James Madison Ltd. by Hecht v. Ludwig, 82 F.3d
1085, 1096–97 (D.C. Cir. 1996); Defs.’ Mem. in Opp’n to Pl.’s Mot. for Summ. J. and in
Supp. of Cross-Mot. for Summ. J. at 21 [hereinafter “Interior Br.”] (setting out standard).

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 5

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 11 of 23
summary judgment must be supported by evidence. 25 While courts view the offered

evidence in the light most favorable to the non-moving party, courts cannot not draw

unreasonable inferences from such evidence or rely on non-existent evidence to forego

entering summary judgment. 26

                                      ARGUMENT

       AIDEA cannot withstand summary judgment on its pretext claim because the

Secretary relied on valid reasons to cancel the leases — to address pre-leasing legal errors

in the Leasing Program — and AIDEA points to no evidence to show that Interior

manufactured a sham rationale for the cancellation. More than two years prior to the

Cancellation Decision, the President and Secretary directed review of legal issues

concerning the Leasing Program. As a result of the Secretary’s review of the Leasing

Program and development of the draft SEIS, Interior determined that the Leasing

Program contained multiple, serious legal errors warranting lease cancellation. 27 The

Deputy Secretary relied on the Secretary’s inherent authority, recognized decades ago by

the Supreme Court in Boesche v. Udall, 28 to cancel the leases to correct pre-leasing legal



       25
          Fed. R. Civ. P. 56(c), (e); Biden v. Texas, 597 U.S. at 812–13; Safari Club Int’l
v. Haaland, 31 F.4th 1157, 1177 (9th Cir. 2022), cert. denied sub nom. Alaska v.
Haaland, 143 S. Ct. 1002, 215 L. Ed. 2d 137 (2023); see also Nelson v. Pima Cmty.
College, 83 F.3d 1075, 1081–82 (9th Cir. 1996) (“[M]ere allegation and speculation do
not create a factual dispute for purposes of summary judgment.”).
       26
          Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–51 (1986); James Madison
Ltd. by Hecht v. Ludwig, 82 F.3d at 1096.
       27
          AR5353, AR5358–59.
       28
          373 U.S. 472 (1963).

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 6

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 12 of 23
errors. 29 Despite this well-established authority and Interior’s consistently explained

actions regarding the Leasing Program, AIDEA argues that the Deputy Secretary’s

contemporaneous explanation for cancelling the leases was pretextual. This claim fails

because AIDEA points to no evidence that Interior concocted its justification of

addressing the legal errors with the Leasing Program with other goals in mind, such that

it was pretextual. The Deputy Secretary articulated a legitimate basis for his action and

identified substantial legal errors. AIDEA’s arguments do not overcome Interior’s

contemporaneous explanation in the Cancellation Decision, which is supported by the

record.

       As evidence of that alleged pretext, AIDEA first points to a post-decisional press

statement from Secretary Haaland in which she stated, “[w]ith today’s action no one will

have rights to drill oil in one of the most sensitive landscapes on Earth.” 30 As Interior

explained, this statement describes the immediate effects of the Cancellation Decision,

rather than expressing the agency’s reason for the cancellation. 31 AIDEA asserts that the

Secretary’s statement demonstrates the pretextual basis for the Cancellation Decision

because it did not mention any resumption of the Leasing Program or point to any legal

errors. 32 These arguments are contradicted by the record. In its announcement of the




       29
          AR5355, AR5359.
       30
          AIDEA Pretext Br. at 5 (quoting the Secretary’s statement).
       31
          Interior Br. at 35 n.9.
       32
          AIDEA Pretext Br. at 6.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 7

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 13 of 23
decision, Interior directly referred to the legal review it undertook and the identified legal

errors justifying lease cancellation. 33 Interior explained that the SEIS process led to the

development of information about the legal flaws: “The draft supplemental

environmental impact statement [] released today . . . developed information supporting

the Department’s determination that the 2021 lease sale was seriously flawed and based

on a number of fundamental legal deficiencies.” 34 The legal deficiencies identified by

Interior include “insufficient analysis under [NEPA], including failure to adequately

analyze a reasonable range of alternatives and properly quantify downstream greenhouse

gas emissions; and failure to properly interpret the Tax Act.” 35 AIDEA’s argument that

Interior simply wished to stop all oil and gas activities also ignores the fact that Interior

has continued to take steps to implement the Leasing Program. Indeed, concurrent with

the Cancellation Decision, Interior issued the draft SEIS for the Leasing Program,

moving toward a revised Leasing Program. 36 Interior has also consistently stated its

intention to hold a lease sale this year. 37

       AIDEA’s other proffered extra-record documents and additional citations fail to

provide evidence that Interior’s decision was pretextual. AIDEA relies on a statement

from then–presidential candidate Joseph Biden, as well as various documents that it


       33
          AR5361.
       34
          AR5361.
       35
          AR5361.
       36
          AR5363–64.
       37
          Interior Br. at 9, 49; J. Mot. Regarding Scheduling Order at 1–2, ECF No. 48.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 8

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 14 of 23
argues show bias on the part of agency officials. 38 Nothing in these documents

demonstrates that the Deputy Secretary manufactured the rationale about the legal errors

in the Leasing Program as a sham, nor do the documents support a reasonable inference

to that effect. AIDEA’s argument turns solely on speculation; it is not based on evidence

of bad faith, which it must proffer to withstand summary judgment. 39

       AIDEA relies on Department of Commerce v. New York to argue that it has met its

burden to show that the decision was pretextual. 40 But the present case is factually

distinguishable from Department of Commerce, and the record here does not support

AIDEA’s position. Department of Commerce concerned the inclusion of a citizenship

question in the census. The Secretary of the U.S. Department of Commerce’s (Secretary

of Commerce) stated reason for including the question was that the U.S. Department of

Justice (DOJ) had requested the question be included to provide data to evaluate Voting

Rights Act compliance. 41 But a memorandum in the record showed that the Secretary of

Commerce had been considering adding the citizenship question long before DOJ

requested it, that the Secretary of Commerce had contacted other agencies about


       38
           AIDEA Pretext Br. at 6–10.
       39
           See supra Legal Standards. As the Gwich’in Steering Committee explained in
its response to the Motion to Supplement the Administrative Record, AIDEA’s offered
documents do not show that Interior’s reasons for cancelling its leases were illegitimate
nor demonstrate any bad faith on the part of Interior in carrying out the Leasing Program
such that the Court should complete the record with additional documents or consider
extra-record documents. Resp. to Mot. to Supp. Admin. R. at 6–14, ECF No. 73.
        40
           AIDEA Pretext Br. at 12–13.
        41
           588 U.S. at 761–62.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 9

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 15 of 23
including the question, and had then prompted DOJ to ask the Department of Commerce

to rely on the Voting Rights Act justification in a request to include the question. 42 Based

on the inclusion of that memorandum in the record, the District Court granted a motion to

complete the record and also allowed the plaintiffs to conduct extra-record discovery to

support their argument that the inclusion of the question was pretextual. 43 The District

Court ultimately held, based on all of the evidence, that the rationale for including the

question was pretextual and vacated the decision. 44

       The U.S. Supreme Court held the District Court’s decision to allow discovery of

extra-record evidence based on the memorandum was premature, but considered the

extra-record evidence nonetheless because the documents provided in response to the

District Court’s order to complete the record showed that the Voting Rights Act

compliance rationale played only an “insignificant role in the decisionmaking process.” 45

The records submitted to complete the administrative record, therefore, provided the

“strong showing” of bad faith required to allow extra-record discovery and consideration

of extra-record evidence. 46




       42
         Id. at 781–82.
       43
         Id. at 782.
      44
         Id. at 765–66.
      45
         Id. at 782.
      46
         Id. Contra AIDEA Pretext Br. at 12 (arguing that a pretext claimant need not
make a strong showing of bad faith).

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 10

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 16 of 23
       Considering all the evidence, including the extra-record evidence, the Supreme

Court concluded there was a “significant mismatch between the decision the Secretary

made and the rationale he provided.” 47 Central to the Supreme Court’s reasoning that the

Voting Rights Act compliance justification was “contrived” were the following facts: the

Secretary of Commerce had been considering asking the question soon after the election,

the rationale that the question would help DOJ with Voting Rights Act enforcement was

developed long after the Secretary of Commerce had decided to include the question and

had asked other agencies to request it, and DOJ’s reaction to offers of other ways to meet

its data needs demonstrated that DOJ was not actually interested in the data. 48 In short,

the record rationale was a sham reason disconnected from the actual reasons for the

decision. The Supreme Court thus upheld the District Court’s ruling that the rationale for

including the citizenship question was pretextual. 49

       The facts in this case are very different. AIDEA points to nothing in the record

indicating that the stated goals of the President, Secretary, and Deputy Secretary to

address legal violations with the Leasing Program were “contrived.” On the contrary, the

record demonstrates a persistent concern with correcting the legal errors. 50 Indeed, the


       47
           588 U.S. at 783.
       48
           Id. at 784.
        49
           Id.
        50
           See Scott v. Harris, 550 U.S. 372, 380 (2007) (explaining “[w]here the record
taken as a whole could not lead a rational trier of fact to find for the nonmoving party,
there is no genuine issue for trial,” and summary judgment is appropriate (quoting
Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986))).

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 11

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 17 of 23
very first action taken that ultimately resulted in the Cancellation Decision was President

Biden’s issuance of Executive Order 13990. In that order, he acknowledged the “alleged

legal errors” with the Leasing Program and directed the Secretary to review the

program. 51 After reviewing the program, the Secretary identified multiple legal flaws

with the Leasing Program, including the agency’s violation of NEPA for failing to

conduct a sufficient impacts analysis and analyze a reasonable range of alternatives, as

well as the failure to properly interpret and apply the Tax Act. 52 The Principal Deputy

Assistant Secretary of Land and Minerals Management’s (Assistant Secretary) decision

suspending the leases further explained these legal deficiencies and identified that there

may be additional legal failings, specifically identifying potential problems with the

Bureau of Land Management’s analysis of greenhouse gases. 53 In an addendum to the

lease-suspension letters, the Assistant Secretary confirmed that the greenhouse gas




       51
           AR3351; AIDEA v. Biden, 685 F. Supp. 3d 813, 826 (D. Alaska 2023). It was
imminently reasonable for the President to direct that review, given that there are four
lawsuits challenging the legality of the Leasing Program, which raise a broad range of
legal claims. See Gwich’in Steering Comm. v. Haaland, Case No. 3:20-cv-00204-SLG
(Alaska D. Ct.); Native Vill. of Venetie Tribal Gov’t v. Haaland, Case No. 3:20-cv-
00223-SLG (Alaska D. Ct.); Nat’l Audubon Soc’y v. Haaland, Case No. 3:20-cv-00205-
SLG (Alaska D. Ct.); State of Wash. v. Haaland, Case No. 3:20-cv-00224-SLG (Alaska
D. Ct.).
        52
           AR3362.
        53
           AR3364–65.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 12

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 18 of 23
analysis was an additional legal deficiency. 54 The Deputy Secretary’s decision to cancel

the leases over two years later relied on these same legal deficiencies. 55

       Unlike Department of Commerce, which showed that the agency had a desired

outcome, went in search of a justification, and contrived a sham rationale, the record in

this case demonstrates that, from the start, the President and Interior were focused on

whether there were legal errors with the Leasing Program and were consistent in their

evaluation of the legal errors for over two years prior to cancelling the leases. 56 At best,

AIDEA’s arguments amount to speculation about there being political reasons for lease

cancellation. But “speculation about alleged improper political influence is not a ground

for invalidating agency action.” 57 AIDEA has not identified any evidence demonstrating




       54
           AR3404.
       55
           AR5353–59. Interior explained how it was addressing these issues in the draft
SEIS. AR3930, AR3952, AR3958–61, AR4055–57, AR4058–59 (Table 3-4), AR5180–
83, AR5348–49.
        56
           See Confederacion de Asociaciones Agricolas del Estado de Sinaloa, A.C. v.
United States, 32 F.4th 1130, 1142 (2022) (explaining that Department of Commerce
“expressly forecloses a challenge based on alleged political influence . . . particularly so
where . . . the face of the agency decision does not identify that it was motivated by any
improper consideration”); see also Dallas Safari Club v. Bernhardt, 518 F. Supp. 3d 535,
544 (D.D.C. 2021) (upholding agency decision against pretext claim because “none of
the reasons contained in the [Interior] Memo [were] so lacking in credibility or so
contradicted by other evidence as to suspect them contrived”); Voyageur Outward Bound
Sch. v. United States, 2021 WL 1929123 at *3–5 (D.D.C. May 13, 2021) (holding that
review of agency decision in furtherance of policy goals does not show bad faith where
the agency carefully explains the legal errors as the basis of its decision).
        57
           Confederacion de Asociaciones Agricolas del Estado de Sinaloa, A.C., 32 F.4th
at 1142.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 13

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 19 of 23
that correcting the identified legal errors was not the genuine reason for Interior’s

action. 58

        AIDEA also fails to grapple with this Court’s prior decision recognizing that

Interior provided legitimate legal reasons for lease suspension. 59 In AIDEA’s prior

lawsuit, it asserted that, because Interior had previously defended the legality of the

Leasing Program against a motion for a preliminary injunction, its subsequent

determination that there were legal defects with the leases was arbitrary and did not meet

the standard for an agency policy change. 60 This Court rejected this argument,

specifically relying on Department of Commerce for the proposition that “‘a court may

not reject an agency’s stated reasons . . . simply because the agency might also have other

unstated reasons.’” 61 The Court recognized that ensuring that its decision complies with

intervening court decisions is a legitimate reason for an agency’s change in position. 62

The Court then discussed the Ninth Circuit’s decision invalidating the greenhouse gas

analysis in an environmental impact statement (EIS) based on the agency’s failure to

consider emissions from foreign-oil consumption. 63 The Court noted that the same issue




        58
          See Dep’t of Com. v. New York, 588 U.S. at 781; Dallas Safari Club, 518 F.
Supp. 3d at 544.
       59
          AIDEA v. Biden, 685 F. Supp. 3d at 854.
       60
          Id. at 848.
       61
          Id. at 850 (quoting Dep’t of Com. v. New York, 588 U.S. at 851).
       62
          Id. at 851.
       63
          Id. (citing Center for Biological Diversity v. Bernhardt, 982 F.3d 723, 736 (9th
Cir. 2020)).

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 14

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 20 of 23
created a flaw in the Leasing Program EIS, concluding that it was a valid reason for

Interior’s action to suspend the leases and pause permitting. 64 The Court specifically held

that the justifications were “tethered to a concern about [the program’s] legality and

judicial review and not to some unrelated concern, such as a political motivation,” and

were sufficient under the APA. 65

       The justifications given for lease cancellation are the same as those that supported

lease suspension: Interior’s findings regarding the agency’s prior unlawful interpretation

of the Tax Act’s 2,000-acre limitation on surface disturbance and its failure to analyze

greenhouse gas emissions. 66 Interior has consistently, for over two years, pointed to these

same justifications while taking action regarding the Leasing Program. 67 Accordingly,

AIDEA v. Biden instructs that the Court should once again determine that Interior’s stated

justifications were legitimate and supported by the record.

       In sum, AIDEA fails to offer any evidence demonstrating that Interior concocted

the rationale that it was acting to address the legal errors with the Leasing Program as a

ruse to distract from its real rationale, such that the Cancellation Decision was a pretext. 68




       64
          Id. at 850 & n.241.
       65
          Id. at 854; see also id. (explaining that the fact that there may have also been
political motivations does not overcome the stated justification).
       66
          AR5356–58.
       67
          AR3351, AR3362–63, AR3364–65, AR3404.
       68
          See also supra n.39 and accompanying text (explaining how AIDEA has not
met standard of genuine issue of material fact); supra Legal Standards.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 15

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 21 of 23
Accordingly, AIDEA cannot demonstrate that there is a genuine issue of material fact as

to bad faith sufficient to withstand summary judgment on this claim.

        Similarly, having failed to offer any evidence that Interior’s contemporaneous

justification was a sham, AIDEA has also failed to make the strong showing of bad faith

to warrant extra-record discovery. 69 Relatedly, there is no reason for the Court to delay its

decision while AIDEA waits to receive future documents in response to its Freedom of

Information Act requests. AIDEA’s assertion that future responses may provide the

evidence required to justify extra-record discovery is based on speculation, not

evidence. 70

                                      CONCLUSION

       The Court should reject AIDEA’s request to suspend review of its pretext claim

and allow for discovery, grant Defendants’ and Intervenor-Defendants’ motions for

summary judgment, and enter judgment in favor of Defendants and Intervenor-

Defendants Gwich’in Steering Committee et al. (collectively “Gwich’in Steering

Committee”) and the Arctic Village and Venetie Tribes on Count II(B).

       Respectfully submitted this 30th day of August, 2024.

       Corrected this 10th day of September, 2024.

                                                  s/ Brook Brisson
                                                  Brook Brisson (AK Bar No. 0905013)
                                                  Suzanne Bostrom (AK Bar No. 1011068)


       69
            See AIDEA Pretext Br. at 13; Dep’t of Commerce, 588 U.S. at 782.
       70
            Contra AIDEA Pretext Br. at 11, 13–14.

Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 16

       Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 22 of 23
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                                           Club




Gwich’in Steering Comm. et al.’s Response Brief on Claim II(B)-CORRECTED
AIDEA v. U.S. Dept. of the Interior, Case No. 3:24-cv-00051-SLG      Page 17

      Case 3:24-cv-00051-SLG Document 80-1 Filed 09/10/24 Page 23 of 23
